Case 4:05-cr-00024-SPM-WCS        Document 158      Filed 11/01/06   Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

vs.                                                   CASE NO.: 4:05cr24-SPM

ANTHONY GOLDMAN,

           Defendant.
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                     ORDER CONTINUING SENTENCING

      For good cause shown, Defendant’s unopposed motion to continue

sentencing (doc. 157) is granted. Sentencing is reset for January 16, 2007 at

1:30 p.m.

      DONE AND ORDERED this 1st day of November, 2006.


                                    s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
